Case 4:19-cv-00696-O Document 3 Filed 09/04/19 Page1ofi PagelD 22
JS 44 (Rev. 06/17) - TXND (Rev. 06/17) CIVIL COVER SHEET

The JS§ 44 civil cover sheet and the information contained herein neither replace nor aipbieien the filing and service of pleadings or other papers as ceed by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
Sherley Woods, as Administratrix of the Estate of O'Shea Terry, and The City of Arlington, Texas
Terrence Harmon Bau Tran
(b) County of Residence of First Listed Plaintiff Tarrant County County of Residence of First Listed Defendant _ Tarrant County
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (/f Known)
John Coyle, McEldrew Young, 123 S. Broad St., Suite 2250, Philadelphia, PA
p. 215-545-8800; S. Lee Merritt, 1910 Pacific Ave., Suite 8000, Dallas, TX

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 2{3 > Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State QO lt OO 1 Incorporated or Principal Place go4 04
of Business In This State
O 2 U.S. Government O04 Diversity Citizen of Another State O 2 O 2. Incorporated and Principal Place go5 a5
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a QO3 O 3 Foreign Nation go6 O06
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only) Click here for; Nature of Suit Code Descriptions,
I CONTRACT TORTS | FORKEITURE/PENALTY. BANKRUPTCY. OTHER STATUTES ]
0 110 Insurance PERSONAL INJURY PERSONALINJURY {0 625 Drug Related Seizure © 422 Appeal 28 USC 158 © 375 False Claims Act
© 120 Marine 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal © 376 Qui Tam (31 USC
0 130 Miller Act © 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability O 367 Health Care/ © 400 State Reapportionment
OF 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
O 151 Medicare Act © 330 Federal Employers’ Product Liability 830 Patent O 450 Commerce
O 152 Recovery of Defaulted Liability CO 368 Asbestos Personal © 835 Patent - Abbreviated O 460 Deporation
Student Loans G 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY. O 480 Consumer Credit
of Veteran's Benefits © 350 Motor Vehicle © 370 Other Fraud © 710 Fair Labor Standards 6 861 HIA (1395ff) O 490 Cable/Sat TV
© 160 Stockholders” Suits © 355 Motor Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) O 850 Securities/Commodities/
O 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management 6 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI © 890 Other Statutory Actions
O 196 Franchise Injury O 385 Property Damage OC 740 Railway Labor Act © 865 RSI (405(g)) O 891 Agricultural Acts
CO 362 Personal Injury - Product Liability © 751 Family and Medical O 893 Environmental Matters
Medical Malpractice Leave Act © 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS Act
© 210 Land Condemnation && 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement © 870 Taxes (U.S. Plaintiff G6 896 Arbitration
O 220 Foreclosure O 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) © 899 Administrative Procedure
© 230 Rent Lease & Ejectment O 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
O 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations © 530 General O 950 Constitutionality of
O 290 All Other Real Property 6 445 Amer, w/Disabilities -] J 535 Death Penalty IMMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
© 446 Amer. w/Disabilities -] 540 Mandamus & Other |O 465 Other Immigration
Other © 550 Civil Rights Actions
© 448 Education © 555 Prison Condition
© 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “Xx” in One Box Only)
1 Original O2 Removed from O 3 Remanded from O 4 Reinstatedor O 5 Transferred from © 6 Multidistrict © 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
42 US.C. Section 1983
Brief description of cause:
Violation of 4th Amendment Rights

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 10,000,000.00 JURY DEMAND: M Yes ONo
VIII. RELATED CASE(S) ~
IF ANY (See instructions): JUDGE DOCKET NUMBER

 

 

DATE SIGN. 4 YY OF RECORD
09/04/2019 an 2 eg Oe a
FOR OFFICE USE ONLY Lz a

RECEIPT # AMOUNT APP IFP JUDGE MAG. JUDGE
